       Case 1:20-cv-04547-ALC-RWL Document 9 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
GUERIN,                                                           :                 11/5/2020
                                            Plaintiffs,           :
                                                                  :
                 v.                                               :  1:20-cv-04547-ALC
                                                                  :  ORDER
PSXDANIELLE LLC,                                                  :
                                                                  :
                                            Defendant.            :
                                                                  :
                                                                  :
----------------------------------------------------------------- :
                                                                  :x
ANDREW L. CARTER, JR., District Judge:

        The Court is in receipt of Plaintiff’s response to its Order to Show Cause. ECF No. 8. The

Court’s October 20, 2020 Order to Show Cause is hereby VACATED.

SO ORDERED.
Dated: November 5, 2020
      New York, New York


                                                                ANDREW L. CARTER, JR.
                                                                United States District Judge
